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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION




   RANDYL PRICE,

         Plaintiff,

   v.                                              CASE NO. 8:17-cv-1968-T-23TGW

   ALLY FINANCIAL, INC.,

         Defendant.
   ____________________________________/


                                        ORDER

         In accord with the parties’ stipulation (Doc. 10), the action is DISMISSED

   WITH PREJUDICE. The clerk is directed to close the case.

         ORDERED in Tampa, Florida, on February 2, 2018.
